     Case 4:21-cv-02155-YGR         Document 736      Filed 09/03/24    Page 1 of 8




 1   Elizabeth C. Pritzker (Cal. Bar No. 146267)
     Jonathan K. Levine (Cal. Bar No. 220289)
 2   Bethany Caracuzzo (Cal. Bar No. 190687)
     PRITZKER LEVINE LLP
 3
     1900 Powell Street, Suite 450
 4   Emeryville, CA 94608
     Tel.: (415) 692-0772
 5   Fax: (415) 366-6110
     ecp@pritzkerlevine.com
 6   jkl@pritzkerlevine.com
 7   bc@pritzkerlevine.com

 8   Interim Class Counsel

 9   [Additional Counsel Appear on Signature Page]
10

11                           IN THE UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
13
     IN RE GOOGLE RTB CONSUMER                       CASE NO. 4:21-CV-02155-YGR
14   PRIVACY LITIGATION
15                                                   PLAINTIFFS’ UNOPPOSED
16                                                   MOTION PURSUANT TO L.R. 6-3
     This document applies to all actions.           AND 7-11 TO AMEND CASE
17                                                   SCHEDULE

18
19

20

21

22

23

24

25

26

27

28
                                                                   Case No. 4:21-cv-02155-YGR-VKD
                                        PLAINTIFFS’ UNOPPOSED MOTION TO AMEND CASE SCHEDULE
     Case 4:21-cv-02155-YGR           Document 736        Filed 09/03/24      Page 2 of 8




 1 I.       INTRODUCTION
 2          Pursuant to Civil Local Rules 6-3 and 7-11, and for the reasons set forth below and in the
 3 accompanying Declaration of Jonathan K. Levine, plaintiffs seek to extend the class certification

 4 and pretrial case schedule in this matter by approximately 11 weeks. Of that time, plaintiffs require

 5 approximately eight weeks for plaintiffs’ experts to download, process, and analyze more than 120

 6 terabytes of class-wide RTB bid data that defendant Google LLC (“Google”) began producing on

 7 July 15, 2024, and later appended on August 7, 2024 to include a missing file. Plaintiffs’ proposed

 8 schedule, which includes a further extension of Google’s class certification opposition deadline to

 9 a date that Google has selected, is set forth below. The proposed schedule also includes

10 accompanying extensions for merits expert reports, summary judgment briefing, and Daubert

11 motions. No trial date has been set.

12          Prior to bringing this motion, plaintiffs met and conferred with Google concerning the
13 reasons for the case extension in an effort to obtain a stipulation. Google has stated it does not

14 oppose this motion; nor does it oppose the proposed case extension. However, Google will not

15 stipulate to the motion. See Levine Decl., ¶ 11.

16 II.      RELEVANT BACKGROUND
17          On April 4, 2024, the Court denied without prejudice plaintiffs’ motion for class certification
18 under Fed. R. Civ. P. 23(b)(2) and 23(b)(3), while allowing plaintiffs to file a renewed class
19 certification motion under Fed. R. Civ. P. 23(b)(2), to permit plaintiffs to address two issues: “(1)

20 whether the class, as defined, is fail safe and, if so, whether striking ‘personal information’ from the

21 definition would result in an overbroad class; and (2) whether the RTB data produced thus far is

22 representative of the class as a whole.” April 4, 2024 Order at 2 (ECF 690).

23          On April 5, 2024, the Court set a Case Management Conference for May 6, 2024, with a Joint
24 Case Management Conference Statement due from the parties on April 29, 2024. See April 5, 2024

25 Order (ECF 692).

26           Also on April 5, 2024, Magistrate Judge DeMarchi set a discovery hearing for April 23, 2024
27 on plaintiffs’ pending motion to compel Google to produce certain class-wide RTB bid data requested

28 by plaintiffs in Request for Production No. 141 (“RFP 141”). See ECF 691 (April 5, 2024 Order). In
                                                                     Case No. 4:21-cv-02155-YGR-VKD
                                          PLAINTIFFS’ UNOPPOSED MOTION TO AMEND CASE SCHEDULE
     Case 4:21-cv-02155-YGR            Document 736        Filed 09/03/24      Page 3 of 8




 1 RFP 141, plaintiffs had requested that Google produce six ten-minute intervals of class-wide RTB

 2 bid data spread over a three-year period (2021-2023). See Levine Decl., ¶ 4.

 3          Following these three orders, the parties met and conferred, and on April 22, 2024, Google

 4 agreed to produce the class-wide RTB data requested by plaintiffs in RFP 141. The parties so advised

 5 Magistrate Judge DeMarchi, and the April 23, 2024 hearing was taken off calendar. See ECF 698

 6 (April 22, 2024 Stipulation) and ECF 699 (April 22, 2024 Order).

 7          On April 29, 2024, the parties filed their Joint Case Management Statement, in which the

 8 parties advised the Court, among other things, that Google would be producing the class-wide RTB

 9 bid data requested in RFP 141, but would need until July 15, 2024 (about 11 weeks) to do so in light
10 of the volume of data that Google needed to gather, process and then produce. See ECF 703 at 3

11 (April 29, 2024 Joint CMS). In light of this production date, the parties jointly proposed a case

12 schedule through summary judgment, with plaintiffs filing a renewed class certification motion by

13 September 13, 2024. Id at 5-6. On May 1, 2024, the Court so ordered the proposed case schedule. See

14 ECF 704 (May 1, 2024 Order). There is no trial date set in this action at this time.

15          On July 15, 2024 Google made available for download by plaintiffs and their experts more
16 than 120 terabytes (equaling 120,000 gigabytes) of class-wide RTB bid data responsive to RFP 141.

17 See Levine Decl., ¶ 6.

18          Despite diligent efforts by plaintiffs and their experts, downloading, processing and analyzing
19 this extraordinary volume of data is taking considerable time – and far more time than originally

20 anticipated. See Levine Decl., ¶ 7. The analytical process also has been delayed by at least three

21 unforeseen data production issues. First, Google produced the data in uncompressed form, which

22 makes the production significantly larger and slower to download. See id. Second, a preliminary

23 analysis of the production by plaintiffs’ expert revealed that one of the data files was missing from

24 the production. Google uploaded the missing data file and made it available to plaintiffs on August

25 7, 2024. See id. Third, further analysis of the production by plaintiffs’ expert revealed that, for one of

26 the six time segments of class-wide RTB bid request data that Google produced, the production does

27 not appear to include signed-in Google account holder data, unlike the other five time segments. See

28 id. Plaintiffs notified Google of this latter discrepancy on August 29, 2024, but as of the date of the

                                                       2              Case No. 4:21-cv-02155-YGR-VKD
                                           PLAINTIFFS’ UNOPPOSED MOTION TO AMEND CASE SCHEDULE
     Case 4:21-cv-02155-YGR           Document 736        Filed 09/03/24      Page 4 of 8




 1 filing of this motion, Google has not responded with either the missing signed-in account holder data

 2 or an explanation for why there is no such data for that one time segment. See id.

 3          Plaintiffs’ experts are diligently downloading, processing and analyzing the class-wide RTB

 4 data for completeness, and for the purposes of undertaking the detailed analysis contemplated by the

 5 Court’s April 4, 2024 Order. But, the above-described production issues, and the sheer volume of

 6 class-wide RTB data that needs to be carefully downloaded, processed, evaluated for completeness,

 7 and then fully analyzed by plaintiffs’ experts in order to address the Court’s requested inquiry is a

 8 resource-intensive and time-consuming process. Despite reasonable diligence, plaintiffs and their

 9 experts simply cannot complete these efforts, and set forth an expert analysis in a further class
10 certification expert report, under the current case schedule. Rather, to complete their work, plaintiffs

11 and their experts require an extension of the case schedule by approximately eight weeks. See Levine

12 Decl., ¶¶ 8-9.

13          On August 27, 2024, plaintiffs conferred with counsel for Google and requested that Google
14 agree to an approximately eight week extension of the case schedule to allow plaintiffs and their

15 experts the time needed to complete their work on the new data produced by Google. In that same

16 communication, plaintiffs advised Google that their renewed class certification motion would likely

17 be accompanied by only one new supplemental expert report. See Levine Decl., ¶ 10.

18          On August 30, 2024, Google confirmed that it would not stipulate to amend the case schedule
19 as requested by plaintiffs, but would not oppose a motion by plaintiffs seeking the same relief as long

20 as Google had 11 weeks, or until January 24, 2024, to prepare and file its class certification

21 opposition. See Levine Decl., ¶ 11.

22          While plaintiffs believe that 11 weeks is excessive (even with the intervening Thanksgiving
23 and Christmas holidays) for any class certification opposition by Google under these circumstances,

24 and that the nine weeks plaintiffs originally proposed is more than sufficient given the limited nature

25 of the renewed motion, in the interest of compromise, and subject to Court approval, plaintiffs will

26 agree to the revised schedule that Google has proposed, which is as follows:

27                Event                  Current Case Schedule                New Case Schedule
      Class Certification Motion      Motion: Sept. 13, 2024             November 8, 2024
28                                    Opposition: Nov. 8, 2024           January 24, 2025

                                                      3              Case No. 4:21-cv-02155-YGR-VKD
                                          PLAINTIFFS’ UNOPPOSED MOTION TO AMEND CASE SCHEDULE
     Case 4:21-cv-02155-YGR            Document 736        Filed 09/03/24      Page 5 of 8




 1                                 Reply: Dec. 12, 2024                   February 28, 2024
                                   Hearing: TBD                           TBD
 2     Opening Expert Reports      January 31, 2025                       April 18, 2025
 3     Rebuttal Expert Reports     March 14, 2025                         May 30, 2025
       Close of Expert Discovery   April 11, 2025                         June 27, 2025
 4     Dispositive/Daubert Motions Motions: May 2, 2025                   July 18, 2025
                                   Oppositions: June 13, 2025             August 29, 2025
 5                                 Replies: July 11, 2025                 September 26, 2025
                                   Hearing: August 26, 2025               TBD
 6

 7 III.     GOOD CAUSE EXISTS TO AMEND THE CASE SCHEDULE
 8          The extraordinary volume of data produced by Google, the manner of the production, the
 9 issues with the data, and the need for plaintiffs and their experts to have sufficient time to download,
10 process, evaluate for completeness, and analyze the data, and then incorporate that analysis into a

11 renewed class certification motion, all provide good cause for the case schedule to now be

12 extended—particularly when the motion is unopposed by Google. Whether considered under L.R.

13 6-3 or L.R. 7-11, good cause for this extension exists for several reasons, which are discussed below.

14          First, plaintiffs have been diligent in pursuing this discovery and generally seeking to
15 advance the litigation as expeditiously and efficiently as possible under the circumstances. Within

16 days of the Court’s class certification order, plaintiffs were negotiating with Google for the class-

17 wide data to be produced and for a renewed class certification motion to be filed as expeditiously as

18 possible thereafter. Plaintiffs began downloading, processing, evaluating for completeness, and

19 preliminarily analyzing the data as soon as it was made available by Google beginning on July 15,

20 2024. There is nothing in the record to suggest that plaintiffs have been dilatory or are in any way

21 at fault for the need to now extend the case schedule as requested.

22          Second, plaintiffs plainly will be prejudiced without the extension. This data is needed by
23 plaintiffs in order to respond to both of the issues raised by the Court in its class certification order

24 with respect to the representative nature of the named plaintiff data and the composition of the

25 proposed class, which is precisely why Magistrate Judge DeMarchi set a hearing on RFP 141 the

26 day after the class certification motion was denied and why Google ultimately agreed to resolve that

27 dispute by producing everything that plaintiffs had requested in RFP 141. But having now largely

28 produced the data that plaintiffs sought (subject to verification of any missing data files and the date

                                                       4              Case No. 4:21-cv-02155-YGR-VKD
                                           PLAINTIFFS’ UNOPPOSED MOTION TO AMEND CASE SCHEDULE
     Case 4:21-cv-02155-YGR            Document 736        Filed 09/03/24      Page 6 of 8




 1 by which such missing data, if any, will be produced), plaintiffs need the time to properly download,

 2 process and analyze that data, and then incorporate that analysis into their renewed class certification

 3 expert report and motion, with the usual rigor and care required for expert analysis and by Rule 23.

 4          Plaintiffs will be unduly and unfairly prejudiced if they must file that motion without

 5 completing their analysis of the data first. Notably, Google does not claim to be prejudiced in any

 6 way by the requested new schedule, which accommodates the date Google claims it desires for its

 7 opposition briefing. Importantly, Google does not oppose this motion.

 8          Third, the requested extension is fair and reasonable under the circumstances, not excessive,

 9 and will allow for the orderly and efficient prosecution of the litigation. It allows sufficient time for
10 plaintiffs and their experts to download, process, evaluate, and then analyze the class-wide data

11 Google has produced, and to prepare and submit an expert class certification report addressing the

12 Court’s class data inquiry, which is what the original schedule contemplated but no longer can

13 accomplish.

14 IV.      CONCLUSION

15          For all the foregoing reasons, and for good cause shown, plaintiffs respectfully request that

16 his unopposed motion be granted, the proposed order submitted herewith be entered, and the pretrial

17 schedule be amended accordingly.

18 DATED: September 3, 2024                                Respectfully submitted,

19
                                                           PRITZKER LEVINE LLP
20
                                                           By: _/s/ Jonathan K. Levine________
21
                                                           Elizabeth C. Pritzker (Cal. Bar No.146267)
22                                                         Jonathan K. Levine (Cal. Bar No. 220289)
                                                           Bethany Caracuzzo (Cal. Bar No. 190687)
23                                                         1900 Powell Street, Ste. 450
24                                                         Oakland, CA 94602
                                                           Tel.: (415) 692-0772
25                                                         Fax: (415) 366-6110
                                                           ecp@pritzkerlevine.com
26                                                         jkl@pritzkerlevine.com
                                                           bc@pritzkerlevine.com
27

28                                                         Interim Class Counsel


                                                       5              Case No. 4:21-cv-02155-YGR-VKD
                                           PLAINTIFFS’ UNOPPOSED MOTION TO AMEND CASE SCHEDULE
     Case 4:21-cv-02155-YGR   Document 736    Filed 09/03/24     Page 7 of 8




 1                                            BLEICHMAR FONTI & AULD LLP
                                              Lesley Weaver (Cal. Bar No.191305)
 2                                            Anne K. Davis (Cal. Bar No. 267909)
                                              Joshua D. Samra (Cal. Bar No. 313050)
 3
                                              555 12th Street, Suite 1600
 4                                            Oakland, CA 94607
                                              Tel.: (415) 445-4003
 5                                            Fax: (415) 445-4020
                                              lweaver@bfalaw.com
 6                                            adavis@bfalaw.com
                                              jsamra@bfalaw.com
 7

 8                                            SIMONS HANLY CONROY LLC
                                              Jason ‘Jay’ Barnes (admitted pro hac vice)
 9                                            An Truong (admitted pro hac vice)
                                              112 Madison Avenue, 7th Floor
10                                            New York, NY 10016
11                                            Tel.: (212) 784-6400
                                              Fax: (212) 213-5949
12                                            jaybarnes@simmonsfirm.com
                                              atruong@simmonsfirm.com
13
                                              DICELLO LEVITT GUTZLER LLC
14                                            David A. Straite (admitted pro hac vice)
                                              One Grand Central Place
15                                            60 E. 42nd Street, Suite 2400
16                                            Tel.: (212) 784-6400
                                              Fax: (212) 213-5949
17                                            New York, NY 10165
                                              Tel: (646) 993-1000
18                                            dstraite@dicellolevitt.com
19
                                              COTCHETT PITRE & MCCARTHY, LLP
20                                            Nancy E. Nishimura (Cal. Bar No. 152621)
                                              Brian Danitz (Cal Bar. No. 247403)
21                                            Karin B. Swope (admitted pro hac vice)
                                              840 Malcolm Road
22                                            Burlingame, CA 94010
23                                            Tel.: (650) 697-6000
                                              nnishimura@cpmlegal.com
24                                            bdanitz@cpmlegal.com
                                              kswope@cpmlegal.com
25

26

27

28

                                            6              Case No. 4:21-cv-02155-YGR-VKD
                                PLAINTIFFS’ UNOPPOSED MOTION TO AMEND CASE SCHEDULE
     Case 4:21-cv-02155-YGR   Document 736    Filed 09/03/24     Page 8 of 8




 1                                            BOTTINI & BOTTINI INC.
                                              Frances A. Bottini, Jr. (Cal. Bar No. 175783)
 2                                            7817 Ivanhoe Ave., Ste. 102
                                              LA Jolla, CA 92037
 3
                                              Tel.: (848) 914-2001
 4                                            fbottini@bottinilaw.com

 5                                            Plaintiffs’ Executive Committee
 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            7              Case No. 4:21-cv-02155-YGR-VKD
                                PLAINTIFFS’ UNOPPOSED MOTION TO AMEND CASE SCHEDULE
